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                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                WILMINGTON DIVISION


 GEORGE ALLEN PINER and              )                Bankruptcy Case No.: 14-04491-5-SWH
 CATHERINE MARY PINER,               )
     Plaintiffs,                     )
                                     )
 v.                                  )                AP. Case No.: 16-00013-5-SWH-AP
                                     )
                                     )
 PNC BANK, NATIONAL ASSOCIATION, )
                                     )
                                     )
             ,                       )
       Defendant.                    )
 ____________________________________)

                                   PLAINTIFFS’
                       FIRST SET OF INTERROGATORIES AND
                 FIRST REQUEST FOR PRODUCTION OF DOCUMENTS


        TO DEFENDANT:          PNC BANK, NATIONAL ASSOCIATION

        BY SERVING:            Andrew Lopez
                               McGuireWoods LLP
                               201 North Tryon Street
                               Suite 3000
                               Charlotte, NC 28202-2146

        PLAINTIFFS in the above-captioned action, by and through counsel, herewith serve upon
 Defendant PNC BANK, National Association the following written Interrogatories and Request for
 Production of Documents pursuant to Rule 33 and Rule 34 of the Federal Rules of Civil Procedure
 as provided for and set forth in the foregoing rules. Answers to these Interrogatories and Request
 for Production of Documents are due within thirty (30) days of the service of these Interrogatories
 and Request for Production of Documents.

        The definitions and instructions set forth below are incorporated by reference in the
 following interrogatories and document requests. As said Defendant is a national association,
 Defendant is required to select such officer, agent or employee of the entity as can furnish such
 information in answer to each Interrogatory as is available to Defendant. Defendant is hereby
 advised that the Interrogatories and the Request for Production of Documents contained herein are
 continuing in nature until the date of trial and that Defendant is required to serve supplemental
 answers and responses as additional information may become available to Defendant. Defendant is
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 further advised that all information and documents requested herein are to be divulged whether in
 the possession of Defendant or Defendant’s attorneys, investigators, agents, employees, assigns, or
 any other representative of Defendant or Defendant’s attorneys.

                              DEFINITIONS and INSTRUCTIONS

        Please read these definitions and instructions carefully and comply with them in your
 responses to this discovery.

 1.     “Defendant,” “you,” “your, ” “PNC BANK, NATIONAL ASSOCIATION” and “PNC”
        shall mean Defendant PNC BANK, NATIONAL ASSOCIATION, and shall include said
        Defendant’s predecessors, successors, subsidiaries, affiliates, joint ventures, officers, agents,
        employees and assigns.

 2.      “Plaintiffs” shall mean Plaintiffs George Allen Piner and/or Catherine Mary Piner.

 3.     “Person” means any individual of either sex, firm, corporation, unincorporated association,
        partnership, or any other group however organized.

 4.     “Complaint” means the Complaint and any Amended Complaint filed by Plaintiffs in this
        action.

 5.     “Answer” means your Answer and any Amended Answer filed in this action.

 6.     “Identify” when used with respect to a natural person and/or when asked to state the name
        of a particular person or persons, you should state such person’s full name, present or last
        known employer, business and home addresses and telephone numbers and the relationship
        of such person to the matters addressed herein.

 7.     “Identify” with respect to any corporation, association, partnership, firm, organization,
        governmental agency or body, or any division, department, or unit thereof, shall mean to
        state to the extent known its full name, principal office address, and all business affiliations
        relating to the subject of the Interrogatory and the identity of the party or other persons on
        whose behalf such entity or entities acted at the time in question.

 8.     “Identify” when used with respect to a document, means to provide a description that is
        sufficiently specific to enable a request for production of such a document pursuant to Rule
        34, the name and address of its custodian, a brief summary of the subject matter of the
        document, the name and address of the person to whom the document is addressed
        (including all persons to whom copies were provided), and the date of the document.

 9.     “Identify” with respect to any communication, statement, event, circumstance,
        representation, conversation, meeting, transaction, occasion or other occurrence, shall mean
        to state to the extent known the date and place thereof; the approximate duration; the name,
        business address, job title and responsibilities of each person who participated therein or
        witnessed or heard any part thereof; the method of communication employed; the person
        who initiated the communication; the substance of the communication and the identity of all
        documents relating thereto. If no person initiated the communication, statement, event,
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       circumstance, representation, conversation, meeting, transaction, occasion or other
       occurrence, identify the program or system that generated or caused the communication,
       statement, event, circumstance, representation, conversation, meeting, transaction, occasion
       or other occurrence to happen.

 10.   The word "document" or "documents" when used herein shall include, without limitation:
       the original, a copy if the original is not available, and all non-identical copies of such
       documents (whether different from the original because of notes made on or attached to
       such copy or otherwise) whether or not in the possession, custody or control of you and
       whether or not claimed to be privileged against discovery on any ground, including, but
       not limited to, reports, annual reports, records, minutes, meeting notices, agendas and
       summaries, studies, research and reports, lists, computer records, memoranda, notes,
       correspondence, schedules, sound recordings, films, transcripts of telephone
       conversations or other conversations or conferences, books, pamphlets, letters, personal
       notes, telegraphic messages, carbon copies, electronic data files, computer programs,
       computer files, electronic data storage devices, or other data compilation from which
       information can be obtained, data sheets, financial statements, cancelled and un-cancelled
       checks, drafts, certificates of deposit, invoices, accounting statements, tickets, expense
       records, vouchers, working papers, drafts of contracts, drafts of letters, charts, printings,
       airplane tickets, flight plans, income tax returns, phonograph records, maps, plats,
       microfilms, microfiches, microprints, photographic negatives, photographic prints or
       slides, receipts, drawings, deposit slips, banking records, journals, account books,
       telephone logs, telephone message records, time slips or any other form of writing or
       record of any kind. Documents produced shall include both paper copies and electronic or
       digital files if the items are maintained in digital or electronic format.

 11.   "Document" shall include official corporate documents as well as documents maintained
       personally in handwriting, electronically or otherwise by any director, officer, employee,
       associate or agent thereof.

 12.   To the extent Defendant seeks to withhold any information or documents on the basis that
       such information or documents are protected by the attorney-client, work product or other
       privilege, Plaintiffs request that Defendant produce a privilege log in addition to other
       responsive documents which sets forth: (1) the nature of the information or author of the
       document withheld on that basis; (2) the date such information or document was authored;
       (3) the relationship of the author to Defendant; (4) all persons to whom the information or
       document was addressed and/or delivered; and (5) a brief description of the information or
       document which does not disclose any purported confidential information.

 13.   Where appropriate, the use of the singular shall include the plural, the use of the plural shall
       include the singular and the use of the masculine shall include the feminine.

 14.   The use of the word “or” shall mean “and” as well as “or.”

 15.   “Evidence” means any fact or facts which tend(s) to support a particular allegation,
       assertion, or denial made by you, and it includes any fact or facts that you intend to rely


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       upon in any manner to prove or establish a particular allegation, assertion, or denial made by
       you.

 16.   “Tends to support” or “support” means any degree of support, even if the supportive or
       probative value is considered negligible by you or your attorneys.

 17.   “HAMP” means Home Affordable Modification Program.

 18.   All requests made by Plaintiffs herein shall be deemed continuing in nature so as to require
       supplemental answers and responses by Defendant between the time such answers and
       responses are served and the time of trial in accordance with Rule 26 of the North Carolina
       Rules of Civil Procedure. Such supplemental answers and responses are to be served upon
       Plaintiffs within thirty (30) days after receipt of such information.

 19.   When an Interrogatory asks for specific information, such as a date or an amount, and the
       specific information requested is not known to you, such Interrogatory shall be deemed to
       ask you to approximate the information requested as best you can, provided that you
       indicate in your response that the information being provided is an approximation or is
       incomplete in certain specific respects.

 20.   When, after a reasonable and thorough investigation using due diligence, you are unable to
       answer any part of an Interrogatory because of lack of information available to you, specify
       in full and complete detail the type of information which you claim is not available to you
       and what has been done by you to locate such information. In addition, specify what
       knowledge or belief you have concerning the unanswered portion of the Interrogatory, set
       forth the facts upon which such knowledge or belief is based, and identify the person who
       has or is likely to have the information which you claim is not available.

 21.   “Plaintiffs’ loan” shall mean the Promissory Note and Deed of Trust executed by Plaintiffs
       on May 12, 2008 in favor of RBC Bank North Carolina and all related negotiations,
       applications, transactions and documents.

 22.   The “real property” or “property” refers to the real property that is the subject of the
       litigation as identified in the Complaint which is known as 332 Bristol Road,
       Wilmington, North Carolina and is more fully described in the Complaint.

 23.   “Servicer” shall mean PNC and/or PNC Mortgage and shall include all divisions,
       departments, predecessors, successors, subsidiaries, affiliates, joint ventures, officers,
       agents, sub-servicers, employees and assigns.




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                                         PLAINTIFFS'

                       FIRST SET OF INTERROGATORIES
                TO FEDERAL NATIONAL MORTGAGE ASSOCIATION

 1.    Identify each person who has knowledge or information related to the subject matter of
       the present action, and for each person, provide a summary of the knowledge or
       information which they possess or which you believe them to possess.

       RESPONSE:




 2.    Identify any logs, notation system, composite digital system, paper, screens or other
       documents or records routinely maintained by agents or employees of any of your
       sections, divisions or departments that reflect dates and content of any telephonic, written
       or other communications with Defendant PNC regarding Plaintiffs’ application for a
       mortgage loan modification.

       RESPONSE:




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 3.    Identify any logs, notation system, composite digital system, paper, screens or other
       documents or records routinely maintained by agents or employees of any of your
       sections, divisions or departments that reflect dates and content of any telephonic, written
       or other communications with PNC regarding Plaintiffs’ mortgage loan obligations on
       and after May 1, 2014.

       RESPONSE:




 4.    Identify any documents, logs, notations or other records of any communications between
       the Plaintiffs and PNC regarding stopping their automated mortgage payment to PNC on
       and after May, 2014.

       RESPONSE:




 5.    State whether or not Fannie Mae owned Plaintiffs’ loan in May of 2014.

       RESPONSE:




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 6.    If the answer to the previous Interrogatory is negative, state whether or not the loan was
       part of a mortgage-backed security pool.

       RESPONSE:




 7.    If the answer to the Interrogatory No. 8 is affirmative, identify the investment pool that
       included Plaintiffs’ loan.

       RESPONSE:




 8.    Identify by name, title and business address all persons who participated in preparing the
       responses to these Interrogatories and specify the nature of their participation and the
       content for which each was responsible.

       RESPONSE:




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                                   PLAINTIFFS'
                     FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
                     TO FEDERAL NATIONAL MORTGAGE ASSOCIATION

 1.     Produce any and all documents identified in your response to any Interrogatory.

        RESPONSE:




 This the 30th day of August, 2016.

                                      THE LAW OFFICES OF CHRIS VONDERAU, PLLC.



                                      By:   /s/ Christopher T. Vonderau
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